
In re Our Lady of the Lake Hospital Inc. et al.; St. Francis Medical Center; Our Lady of Lourdes Regional Medical Center Inc.; Woman’s Hospital/Baton Rouge; Baton Rouge General Medical Center; — Defendant(s); Applying for Supervisory and/or Remedial Writs, Parish of Orleans, Civil District Court Div. A, No. 99-09855; to the Court of Appeal, Fourth Circuit, No(s). 2002-C-2268, 2002-C-2269, 2002-C-2270, 2002-C-2271, 2002-C-2278, 2002-C-2295, 2002-C-2296, 2002-C-2311, 2002-C-2312.
Denied.
JOHNSON, J., recused.
